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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 15-cv-02441-GPG

AWEYS M. MUHUDIN,

       Plaintiff,

v.

FRED WEGENER, Sheriff,
MONTE GORE, Undersheriff, and
DAN MULDOON, Capt., Jail Administrator,

     Defendants.
______________________________________________________________________

                         ORDER OF DISMISSAL
_____________________________________________________________________

       Plaintiff, Aweys M. Muhudin, was detained in the Park County Detention Facility in

Fairplay, Colorado, at the time he initiated this action. In compliance with an order

directing him to cure deficiencies, Plaintiff filed a Prisoner Complaint, on the

court-approved form, on December 9, 2015. (ECF No. 5). Mr. Muhudin has been

granted leave to proceed in forma pauperis (IFP) pursuant to 28 U.S.C. ' 1915.

       Mr. Muhudin alleges in the Prisoner Complaint that he is a Sunni Muslim. He

states that his religion requires him to consume only halal meat and that he is forbidden to

eat meat from an animal where it is unknown how the animal was killed. Plaintiff further

alleges that the Park County Detention Facility, which is a “D.O.C. [Department of

Corrections] hold facility” (ECF No. 5 at 4), does not offer a halal diet, but does offer other

religious diets. Mr. Muhudin states, in his IFP motion, that he requested a halal diet




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when he arrived at the detention facility in September 2015, but it was denied on the

following grounds: a kosher diet is not approved for Muslim inmates; the detention facility

does not use pork products in their meals; and, Plaintiff could choose a vegetarian or

vegan diet. (ECF No. 4 at 2). Plaintiff asserts that the special diets available to him do not

conform to his religious beliefs. (Id.). Mr. Muhudin claims that the Defendants have

violated the Fourteenth Amendment Equal Protection Clause and the Eighth

Amendment. He requests monetary and injunctive relief.

       On December 14, 2015, the Court reviewed the Prisoner Complaint and

determined that it was deficient because Mr. Muhudin failed to allege specific facts to

show the personal participation of each named Defendant in a deprivation of his

constitutional rights. (See ECF No. 7). Consequently, the Court directed Plaintiff to file

an Amended Complaint, on the court-approved Prisoner Complaint form, within 30 days

of the December 14 Order. (Id.).

       On December 22, 2015, Plaintiff filed a notice of change of address indicating that

he had been released from the Park County Detention Facility and now resides at a

community corrections facility in Colorado Springs. (ECF No. 8).

       On December 24, 2015, the Court issued a minute order directing the Clerk of the

Court to resend to Mr. Muhudin, at his new address, a copy of the December 14 Order

Directing Plaintiff to File an Amended Complaint, along with a copy of the court-approved

Prisoner Complaint form. (ECF No. 9). The Court ordered Plaintiff to file an Amended

Complaint within 30 days of the December 24, 2015 minute order and warned him that

failure to comply may result in dismissal of this action without further notice. (Id.).



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       Mr. Muhudin failed to file an Amended Complaint by the court-ordered deadline.

However, because it was unclear whether Plaintiff received the copies of the December

24 minute and December 14 Order, and given that his allegations did not appear to be

legally frivolous, the Court issued an Order to Show Cause on February 2, 2016, directing

Mr. Muhudin to file an Amended Complaint, within 30 days, in which he alleged specific

facts to show that one or more of the named Defendants had authority over the types of

diets provided to inmates at the Park County Detention Facility and was responsible for

denying Plaintiff a halal diet that conformed to his sincerely held religious beliefs. (ECF

No. 12).

       Mr. Muhudin was warned in the December 14 Order that personal participation is

an essential element in a civil rights action. See Bennett v. Passic, 545 F.2d 1260,

1262-63 (10th Cir. 1976); Kentucky v. Graham, 473 U.S. 159, 166 (1985). There must

be an affirmative link between the alleged constitutional violation and each defendant=s

participation, control or direction, or failure to supervise. See Butler v. City of Norman,

992 F.2d 1053, 1055 (10th Cir. 1993); see also Dodds v. Richardson, 614 F.3d 1185,

1200-1201 (10th Cir. 2010) (A[D]efendant-supervisors may be liable under ' 1983 where

an >affirmative= link exists between the unconstitutional acts by their subordinates and

their >adoption of any plan or policy. . .Bexpress or otherwiseBshowing their authorization

or approval of such >misconduct.=@) (quoting Rizzo v. Goode, 423 U.S. 362, 371 (1976)).

A supervisor defendant is not subject to liability under ' 1983 on a theory of respondeat

superior. See Ashcroft v. Iqbal, 556 U.S. 662, 676 (2009).




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       Mr. Muhudin has now failed to comply with the February 2, 2016 Order to Show

Cause. Consequently, the Prisoner Complaint and this action will be dismissed without

prejudice pursuant to Fed. R. Civ. P. 41(b) for Plaintiff’s failure to prosecute, and for

Plaintiff’s failure to allege the personal participation of the Defendants in a deprivation of

his First Amendment right to receive a diet conforming to his sincerely held religious

beliefs. Accordingly, it is

       ORDERED that the Prisoner Complaint (ECF No. 5) and the action are

DISMISSED WITHOUT PREJUDCE, pursuant to Rule 41(b) of the Federal Rules of Civil

Procedure, for Plaintiff’s failure to comply with two Court orders, and because Plaintiff has

failed to allege specific facts to show each Defendant’s personal participation in a

violation of his First Amendment rights. It is

       FURTHER ORDERED that leave to proceed in forma pauperis on appeal is denied

pursuant to 28 U.S.C. ' 1915(a)(3) because any appeal from this Order would not be

taken in good faith. See Coppedge v. United States, 369 U.S. 438 (1962). If Mr.

Muhudin files a notice of appeal she also must pay the full $505 appellate filing fee or file

a motion to proceed in forma pauperis in the United States Court of Appeals for the Tenth

Circuit within thirty days in accordance with Fed. R. App. P. 24.

       DATED March 9, 2016, at Denver, Colorado.

                                           BY THE COURT:



                                             s/Lewis T. Babcock
                                           LEWIS T. BABCOCK, Senior Judge
                                           United States District Court



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